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                 Exhibit C
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      IN RE: WESTMORELAND COAL COMPANY, et al.




                   FRED CRAWFORD
                    January 29, 2020
         OUTSIDE COUNSEL EYES ONLY MATERIAL




                             Original File 298220.txt
                      Min-U-Script® with Word Index
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                                                                                                         January 29, 2020
                                                    Page 1                                                         Page 3
 1   UNITED STATES BANKRUPTCY COURT
                                                              1   A P P E A R A N C E S: (Cont'd)
 2   SOUTHERN DISTRICT OF TEXAS
                                                              2
 3   HOUSTON DIVISION
     -------------------------------------------x             3   SELENDY & GAY PLLC
 4   In re:
                                                              4   Attorneys for McKinsey RTS
 5   WESTMORELAND COAL COMPANY, et al.,
                                                              5      1290 Avenue of the Americas
 6                     Reorganized Debtors.
                                                              6      New York, New York 10104
 7   Chapter 11
                                                              7   BY: MARIA GINZBURG, ESQ.
 8   Case No. 18-35672(DRJ)
     -------------------------------------------x             8      JOSHUA MARGOLIN, ESQ.
 9                                                            9      AMY MEMETZ, ESQ.
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12                         787 Seventh Avenue                12
                           New York, New York
13                                                           13
                           January 29, 2020
14                         1:03 p.m.                         14   KIRKLAND & ELLIS LLP
15                                                           15   Attorneys for WLB Debtors
16                Videotaped Deposition of                   16      609 Main Street
17   FRED CRAWFORD, before Kristi Cruz, a Notary             17      Houston, Texas 77002
18   Public of the State of New York.                        18   BY: ALEXANDRA CARITIS, ESQ.
19                                                           19      713.836.3531
20                                                           20      alexandra.caritis@kirkland.com
21                                                           21
22                                                           22
23          ELLEN GRAUER COURT REPORTING CO. LLC             23
              126 East 56th Street, Fifth Floor
24                New York, New York 10022                   24
                        212-750-6434
25                      REF: 298220                          25


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 1   A P P E A R A N C E S:                                   1   A P P E A R A N C E S:    (Cont'd)
 2                                                            2
 3   CADWALADER, WICKERSHAM & TAFT LLP                        3   WILLKIE FARR & GALLAGHER LLP
 4   Attorneys for Mar-Bow Value Partners, LLC                4   For AlixPartners and the Witness
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13   Attorneys for McKinsey RTS                              13
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15          New York, New York 10022                         15         ADAM VENTURINI, Videographer
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19                                                           19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25                                                           25


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 2   WITNESS               EXAMINATION BY            PAGE
 3   FRED CRAWFORD         MS. GINZBURG                  7
 4
 5
 6
 7   ---------------- E X H I B I T S ----------------
 8   CRAWFORD        DESCRIPTION                  FOR I.D.
 9   Exhibit 1       Subpoena                            8
10   Exhibit 2       E-mail chain, AlixPartners         19
11                   WH00000457
12   Exhibit 3       E-mail, AlixPartners WH455         21
13   Exhibit 4       Deposition transcript              30
14   Exhibit 5       Deposition transcript excerpt      36
15   Exhibit 6       AlixPartners Bates 1 through 20    49
16
17
18               (EXHIBITS TO BE PRODUCED)
19
20
21
22                                                              22    Q. Mr. Crawford, thank you for coming
23                                                              23   in today. Good afternoon.
24                                                              24    A. Good afternoon.
25                                                              25    Q. Do you understand that you're

                                                       Page 6                                                   Page 8

                                                                 1   appearing here today pursuant to a subpoena
                                                                 2   that's been issued in connection with the
                                                                 3   Westmoreland bankruptcy case that's pending in
                                                                 4   Houston, Texas?
                                                                 5    A. Yes.




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                                                              1    A. Yeah.
                                                              2    Q. Did you discuss this deposition with
                                                              3   Jay Alix?
                                                              4    A. No.
                                                              5    Q. Did you meet with Mr. Alix's counsel
                                                              6   about this deposition?
                                                              7    A. No.
 8    Q. Do you understand that the case is                   8    Q. Did you meet with any
 9   about McKinsey's retention as a professional             9   representatives of Jay Alix in connection with
10   in the Westmoreland bankruptcy?                         10   this deposition?
11    A. Yes.                                                11    A. No.
12    Q. And are you aware that a company
13   called Mar-Bow has objected to McKinsey's
14   retention?
15    A. Yes.                                                15    Q. What did you do to prepare for this
16    Q. And are you aware that Mar-Bow is a                 16   deposition?
17   company that is controlled by Jay Alix?                 17    A. I met with Wes and his colleagues
18    A. Yes.                                                18   for two, two and a half hours a couple of days
                                                             19   ago.
                                                             20    Q. Did you review any documents?
                                                             21    A. Yes.
                                                             22    Q. Did they refresh your recollection?
                                                             23    A. Yeah.
                                                             24    Q. Which ones?
                                                             25    A. There was a two and a half page

                                                Page 10                                                       Page 12

                                                              1   document that we went over, which was about
                                                              2   McKinsey.
 3     Q. Okay. Do you reside within                          3    Q. Is that a document that's been
 4   100 miles of Houston?                                    4   referred to as the competitive response
 5     A. No.                                                 5   document?
 6     Q. You reside in Connecticut, right?                   6    A. Yeah.
 7     A. Yes.
 8     Q. Do you regularly do business in
 9   Houston?
10     A. No.
11     Q. How often have you been in Houston,
12   if at all, in the last year for business?
13     A. None.
14     Q. Do you intend to testify at this
15   hearing?
16     A. No.



20    Q. And are you represented by counsel
21   here today?
22    A. Yes.
23    Q. Who is that?
24    A. Wes, Willkie Farr.
25    Q. Mr. Powell?

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25    Q. Okay. Mr. Crawford, you joined

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 1   AlixPartners in 2003 or 2004, correct?
 2    A. Yes.




13    Q. And then you became CEO in 2008; is
14   that correct?
15    A. I think so. I'm not sure, but
16   that's about right.
17    Q. And your position as CEO ended in
18   2015?
19    A. I believe it was 2016, but I'm not
20   sure. I'm not certain of that.
21    Q. Are you now a managing director in
22   AlixPartners' New York office?
23    A. Yes. I'm a senior vice chairman of
24   our firm, and I carry the designation managing
25   director.

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                                                           1   D.C.?
                                                           2    A. Yes.
                                                           3    Q. You asked to meet with Dominick
                                                           4   Barton at that conference, correct?
                                                           5    A. Correct.
                                                           6    Q. Had you ever met with Mr. Barton
                                                           7   before that?
                                                           8    A. No.
                                                           9    Q. And you e-mailed Mr. Barton directly
                                                          10   to request that meeting, right?
11    Q. Okay. During your tenure as CEO,                 11    A. I don't recall.
12   you also sat on the board of directors for           12         MS. GINZBURG: I'm going mark our
13   AlixPartners LLP, correct?                           13      next exhibit, Crawford 2.
14    A. I sat on the board of directors. I
15   would need a little guidance. I know we have
16   more than one legal entity, and I'm not
17   certain which part I was on the board of and         17     Q. Okay. Mr. Crawford, so I've handed
18   which I wasn't. But I certainly sat on the           18   you an e-mail chain, and if you turn to the
19   board of one of the entities.                        19   second page which is marked AlixPartners
20    Q. Well, that was actually my next                  20   WH00000457, do you see there's an e-mail there
21   question. There's also a board of                    21   from you to Dominick Barton dated November 15,
22   AlixPartners Holdings.                               22   2013? Do you see that?
23    A. I'm not certain which.                           23     A. Yes.
24    Q. Do you know what the distinction is              24     Q. Do you recognize this document?
25   between the two boards?                              25     A. I recognize it as I'm reading it,

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 1    A. No.                                               1   yes.
 2    Q. And today, are you on the board of
 3   directors of either AlixPartners LLP or
 4   AlixPartners Holdings?
 5    A. Yes.                                              5    Q. And you see that it is an e-mail
 6    Q. And that's the same board you                     6   where you're asking Mr. Dominick in the second
 7   continuously sat on? You didn't switch boards         7   paragraph, "I was wondering if I might be able
 8   of different companies, you're just not sure          8   to grab five minutes with you sometime during
 9   which one it is?                                      9   the council."
10    A. Correct.                                         10    A. Yes.
11    Q. Jay Alix is also on the same board               11    Q. So this was your e-mail to
12   on which you sit?                                    12   Mr. Barton requesting a meeting at that Wall
13    A. Correct.                                         13   Street Journal conference, correct?
                                                          14    A. Yes.
                                                          15    Q. And Mr. Barton responded to you, you
                                                          16   can just direct your attention above the line
                                                          17   on the same page, it says, "Dear Fred, thanks
18    Q. So taking you back to 2013, in 2013              18   so much for your message. I would be very
19   you attended The Wall Street Journal's annual        19   keen to meet during the conference." And it
20   CEO council meeting, correct?                        20   goes on from there.
21    A. Correct.                                         21    A. Yes.
22    Q. And that was sometime in the fall of             22    Q. Other than exchanging these e-mails,
23   2013, correct?                                       23   did you otherwise communicate with Mr. Barton
24    A. Yes.                                             24   before this conference?
25    Q. And that was held in Washington,                 25    A. Not that I recall.

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 1    Q. And then before your meeting with
 2   Mr. Barton at that conference, you spoke to
 3   Jay Alix about meeting with Mr. Barton,
 4   correct?
 5    A. Not that I recall.
 6    Q. We'll mark another document in a
 7   second.
 8         MS. GINZBURG: We'll mark this
 9     Crawford 3.



13     Q. Take a look at the document which is
14   marked AlixPartners WH455. It's an e-mail
15   from Frederick Crawford to Jay Alix at the
16   Lakeview Capital Inc. e-mail address dated              16     Q. Okay. And you said you had your own
17   November 18, 2013.                                      17   agenda for the meeting with Mr. Barton. What
18         Do you recognize this e-mail?                     18   was that agenda?
19     A. Yes.                                               19     A. I was curious as a CEO and a
20     Q. You sent this e-mail to Mr. Alix,                  20   longtime competitor of McKinsey, I don't come
21   correct?                                                21   from the restructuring world, I come from the
22     A. Yes.                                               22   management consulting and strategy consulting
23     Q. It says, subject Barton, flag                      23   world, I was really interested to see what
24   follow-up, and the text says, "Jay, I am                24   Dominick's perspective was or why McKinsey
25   meeting the CEO of McKinsey at The Wall Street          25   would want to enter that marketplace. I found

                                                   Page 22                                                   Page 24

 1   Journal, WSJ, CEO conference and wanted to               1   it curious and interesting as a matter of both
 2   pick your brain on messaging. If you have a              2   competition and strategy.
 3   chance to call, e-mail, or text your key                 3     Q. And you say as a matter of
 4   points in the next 12 hours, that would be               4   competition. What does that mean?
 5   great. He just confirmed the meeting."                   5     A. Historically, McKinsey had not been
 6          You see that, correct?                            6   in the restructuring market space as an
 7     A. Yes.                                                7   advisor or consultant, and it seemed odd to me
 8     Q. Did you want to meet with Mr. Alix                  8   that they would want to participate in that
 9   to formulate a message for Mr. Barton at this            9   sector.
10   meeting?                                                10     Q. Why was it odd?
11          MR. POWELL: Object to form.                      11     A. It seemed to me, as a person who has
12          Go ahead.                                        12   spent a lot of time on brand work and
13     A. Once Dominick confirmed the meeting,               13   branding, to be at odds with their excellent
14   I had my own agenda for it, but wanted to see           14   reputation in the strategy and operational
15   if Jay had anything he would want me to pass            15   consulting areas.
16   along.                                                  16     Q. Why would it be at odds with their
                                                             17   reputation?
                                                             18     A. The nature of the work is such that
                                                             19   it's very hard to not make enemies just
                                                             20   because of the nature of the work.
                                                             21     Q. And when you say make enemies, what
                                                             22   do you mean by that?
                                                             23     A. Well, usually in a bankruptcy
                                                             24   situation there are winners and losers
                                                             25   financially, and it would be human nature if

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 1   you lost, if you will, if you came out on the        1   having them as a competitor in any of our
 2   short end of the financial stick to harbor bad       2   spaces I viewed -- I view them as very good at
 3   feelings and ill will towards those who had          3   what they do and very smart, and I would -- I
 4   been a part of the other side of that                4   certainly would have been happy if they had
 5   transaction or that situation, and that seemed       5   chosen not to go into restructuring.
 6   to me, to be really at odds with McKinsey, who       6     Q. Other than what we've discussed
 7   I perceived as wanting to work with as many or       7   right now, did you have any other purpose
 8   all companies if possible. So it just seemed         8   going into the meeting with Mr. Barton at the
 9   really unusual to me; very curious.                  9   Wall Street Journal conference?
                                                         10     A. No.




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11     Q. And were you hoping to dissuade
12   Mr. Barton from continuing to grow his
13   presence in the bankruptcy space?
14     A. I wouldn't say dissuade. I wanted
15   first to understand, and then based on what
16   Dominick shared with me, I might -- my goal
17   would have been to, one, learn the motivation
18   if he was willing to describe it, and then
19   two, give him any reactions on a CEO to CEO
20   basis.
21     Q. Would you have been happy if
22   McKinsey pulled out of the restructuring
23   space?

25    A. McKinsey's a great company, and

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                                                19    Q. In that meeting with Mr. Barton, you
                                                20   did not accuse McKinsey of unethical business
                                                21   practices, correct?

                                                23    A. No.
                                                24    Q. And you have -- to be more specific,
                                                25   you did not discuss unethical practices in

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 1   connection with getting referrals in the
 2   bankruptcy business, correct?
 3    A. No.




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                                                 6    Q. Did you tell Mr. Alix that you told
                                                 7   Mr. Barton that McKinsey might be involved in
                                                 8   unethical or improper behavior?
                                                 9    A. I don't recall that.




                                                17    Q. So then it's fair to say you don't
                                                18   recall giving Mr. Alix information that would
                                                19   suggest McKinsey engages in unethical
                                                20   practices with respect to referrals?
                                                21    A. I don't recall that.


                                                24    Q. Did you at the time have information
                                                25   to suggest that McKinsey engages in unethical

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 1   practices with respect to referrals?                    1    Q. Did you hear it from Skadden?
                                                             2    A. I don't know.
 3     A. I didn't have specific information,                3    Q. Kirkland & Ellis?
 4   but I can tell you at that time, there were a           4    A. I don't know.
 5   lot of rumors in the marketplace floating               5    Q. Did you speak to anyone about these
 6   around about that.                                      6   rumors?
 7     Q. And what were the rumors?                          7    A. No.
 8     A. That McKinsey was trading access to                8    Q. And I think you said you found it
 9   executives for leads in bankruptcy in                   9   interesting, but not noteworthy. Not
10   turnaround situations.                                 10   noteworthy because there was no specific
11     Q. From whom did you hear the rumors?                11   information?
12     A. I don't know. It was a widespread
13   rumor bouncing around the industry, and                13    A. Not noteworthy because it, in my
14   candidly, I don't pay attention to a lot of            14   position and with my range of
15   rumors. There's always chatter in our                  15   responsibilities, it was not something that
16   business and, you know, I was running the              16   was, in my view, something I wanted to spend a
17   company, had a lot of areas of our business            17   lot of time on, if any.
18   were growing rapidly, and I found it                   18    Q. So is it fair to say that these were
19   interesting, but not noteworthy.                       19   rumors that you could not substantiate?
20     Q. So let me back up. When you say                   20    A. Yes.
21   trading access to executives for leads in              21    Q. And you do not -- and you did not
22   turnaround situations, what do you mean?               22   discuss these rumors with Mr. Alix?
23     A. The rumor was that McKinsey would                 23    A. Not that I recall.
24   offer people who could provide them with leads         24    Q. So you said you don't recall
25   for bankruptcy work access to senior                   25   discussing these with anyone. Is it fair to

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 1   executives that that person would not have              1   say, then, no one at AlixPartners asked you to
 2   otherwise had.                                          2   look into these rumors in particular?
 3    Q. And would that be an exclusive
 4   arrangement?                                            4    A. Not that I recall.
 5    A. I don't know.                                       5    Q. And did you investigate or follow up
                                                             6   on these rumors?
                                                             7    A. Not that I recall.
 8     Q. And you said you didn't know who you               8    Q. Since that time, have you followed
 9   heard the rumor from; is that right?                    9   up or investigated these rumors?
10     A. Yeah. I mean, it was a broad-based                10    A. Not that I recall.
11   rumor in the marketplace.                              11    Q. And had you --
12     Q. When you say broad-based in the                   12    A. Not that I know of, I should say.
13   marketplace, what does that mean?                      13   Sorry.
14     A. Lots of people were talking about                 14    Q. And since that time, since 2013,
15   it.                                                    15   have you spoken to Mr. Alix about McKinsey's
16     Q. What people? What kind of people?                 16   referral practices?
17     A. I don't know.                                     17    A. Not that I know of.
18     Q. Were they lawyers?                                18    Q. And you would agree that accusing a
19     A. I don't know.                                     19   competitor of unethical conduct is a serious
20     Q. Were they bankers?                                20   accusation?
21     A. I don't know.                                     21    A. Yes.
22     Q. Can you name a person?
23     A. No.
24     Q. Can you name a law firm?
25     A. No.

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                                                             3     Q. Mr. Crawford, did the AlixPartners
                                                             4   board of directors ask you to develop a
                                                             5   competitive response to McKinsey's entry into
                                                             6   the restructuring business?
                                                             7     A. I don't recall that, but we did
                                                             8   develop it. So whether -- I'm not certain
                                                             9   whether it was the board or the management
                                                            10   team that initiated it, but we certainly did
                                                            11   develop it.
                                                            12     Q. And what is the management team
                                                            13   versus the board?
                                                            14     A. The management team in this context
                                                            15   would be the people that reported directly to
                                                            16   me at the firm.




24    Q. Did you participate in any board
25   discussions at that time where Mr. Alix

                                                  Page 46                                                   Page 48

 1   discussed unethical referral practices by
 2   McKinsey?                                               2    Q. Okay. And was the competitive
                                                             3   response that was developed, was it a response
 4    A. I don't recall.                                     4   to the number of employees McKinsey was
 5    Q. Did you participate in any board                    5   recruiting from AlixPartners?
 6   discussions at that time where Mr. Alix
 7   discussed McKinsey's disclosure practices?              7    A. That is not my memory of it.
                                                             8    Q. Was it a response to McKinsey's
 9    A. I don't recall.                                     9   developing a presence in the Chapter 11
10    Q. Have you ever participated in any                  10   restructuring business?
11   board discussions concerning McKinsey's                11    A. Yes.
12   disclosure practices?                                  12    Q. And what was the purpose of
13    A. I don't recall.                                    13   developing the response?
14    Q. Have you ever participated in any                  14    A. We would, as a matter of regular
15   board discussions concerning McKinsey's                15   business, develop reports on our key
16   referral practices?                                    16   competitors as a mechanism for making sure
                                                            17   that we understood what they were doing in the
18    A. I don't recall.                                    18   marketplace, how we were doing against them,
                                                            19   and how we could compete most effectively
                                                            20   against them in the marketplace.




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 3          MS. GINZBURG: I'm going to mark a
 4      document. This is Crawford 6. And you'll
 5      see it's a document produced by
 6      AlixPartners Bates stamped 1 through 19.                6    Q. Did you work on the preparation of
 7      It has a lot of redactions -- 1 through                 7   this document?
 8      20.                                                     8    A. I don't know.
                                                                9    Q. You did see it at the time it was
                                                               10   prepared, though, correct?
                                                               11    A. Correct.




19    Q. So the document has a lot of
20   redactions, except for pages 9, 10, and 15.
21   So if you can take a look at that. Do you
22   recognize this document?                                  22     Q. What was the purpose of this
23    A. I recognize it from seeing it a                       23   document?
24   couple of days ago.                                       24     A. From what I see in looking it over,
25    Q. In preparation for your deposition?                   25   I would believe that it would be the standard

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 1    A. Correct.                                               1   document, if you will, that we would create
 2    Q. Is this what we've been referring to                   2   when we see a competitor emerging or
 3   as the competitive response document?                      3   strengthening in the marketplace so that we
                                                                4   can, one, understand what they're doing or
                                                                5   have done; two, how they're competing with us
 6    A. It looks like it. I say that                           6   so that we can then formulate our strategy for
 7   because of the level of redaction. But it                  7   competing against them in the marketplace
 8   looks like it.                                             8   effectively.
 9    Q. And this is the document that
10   refreshed your recollection about the
11   competitive response that you testified to at
12   the beginning?
13    A. Correct.




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                                                16    Q. Do you recall any conversations that
                                                17   you had about the preparation of this document
                                                18   before it was created?
                                                19    A. No.
                                                20    Q. So you don't recall any
                                                21   conversations with Jay Alix about the
                                                22   preparation of the document?
                                                23    A. No.



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                                                19     Q. Do you recall any conversations
                                                20   about McKinsey's prebankruptcy work stemming
                                                21   from this document?
                                                22     A. No.
                                                23     Q. Do you recall board conversations
                                                24   about slide 9?
                                                25     A. No.

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                                                                2    A. Slide 10?
                                                                3    Q. Slide 10.
                                                                4    A. No.
 5     Q. Was there a concern that McKinsey                     5    Q. Is there anything in this slide that
 6   was getting referrals from law firms and                   6   addresses McKinsey's bankruptcy disclosures?
 7   financial advisors that would otherwise go to              7    A. No.
 8   AlixPartners?                                              8    Q. At the bottom of the slide, it says,
                                           .                    9   "Information sourced from bankruptcy filings."
10     A. I would say there was a growing                      10   Do you see that under "notes"?
11   concern that McKinsey was becoming active in              11    A. Yes.
12   the turnaround and restructuring space, and as            12    Q. Is the information on this slide
13   a large and strong competitor, we wanted to               13   based on public sources?
14   understand what cases they were winning and               14    A. I believe so.
15   how they were winning them.                               15    Q. Do you recall any conversations
16     Q. When you say how they were winning                   16   about this slide at the AlixPartners board?
17   them, is one way to win a case to be referred             17    A. No.
18   by another practitioner in the space?                     18    Q. Do you recall any conversations
19     A. It wouldn't be a way to win the                      19   about this slide with Jay Alix?
20   case, but it would be a way to have an                    20    A. No.
21   opportunity to compete for the case.                      21    Q. Do you recall any conversations
22     Q. It would provide an introduction?                    22   about the -- you know, not the slide itself,
23     A. Correct.                                             23   but the subject matter of the slide with the
24     Q. And so was it relevant to identify                   24   AlixPartners board?
25   the financial advisors and counsel involved               25    A. No.

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 1   because AlixPartners worked with the same                  1     Q. With Jay Alix?
 2   counsel and hoped to get introductions from                2     A. No.
 3   those firms?                                               3     Q. Let's turn to slide 15. So at the
                                                                4   top of the slide, it says, "We recommend five
 5     A. It would be relevant because we                       5   responses."
 6   would want to know what law firms and what                 6          Is this slide one of the five
 7   banks were getting the opportunities, because              7   competitive responses that were recommended?
 8   in that way, with that knowledge, we know who              8     A. Yes.
 9   we should be spending time with in order to                9     Q. And the top of the slide says, "Make
10   try to get referrals.                                     10   it public and painful." Do you see that?
                                                               11     A. Yes.
                                                               12     Q. Does this refer to making the
                                                               13   restructuring business public and painful for
                                                               14   McKinsey?

                                                               16    A. Yes.
                                                               17    Q. And the first entry or the first
18    Q. Is there anything in this slide that                  18   bullet point says, "Our best intelligence
19   addresses an allegation of unethical referral             19   suggests that McKinsey partners are still
20   practices at McKinsey?                                    20   divided about pursuing restructuring," right?
                                                               21    A. Yes.
22    A. No.                                                   22    Q. Does this slide refer to an internal
23    Q. Is there anything in this slide that                  23   conflict about McKinsey partners about
24   addresses a concern that McKinsey was                     24   entering the restructuring business?
25   recruiting personnel from AlixPartners?

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 1    A. I think you said this, but to                     1   sometimes they get a limited settlement or no
 2   restate, I think it suggests that there are a         2   settlement. So there are people who do, on a
 3   group of McKinsey partners that don't want to         3   relative basis, better or worse in these
 4   see McKinsey in restructuring.                        4   cases.
 5    Q. And why is that?                                  5    Q. And how does that relate to a fear
                                                           6   of the cases having the business be visible?
 7    A. My read of it is that they probably
 8   felt the same way about it that I did when I          8    A. And I'm reaching because I'm not
 9   reached out to Dominick.                              9   certain.
10    Q. And that's based on conversations                10    Q. When it refers to these cases having
11   you've had with McKinsey partners or reading         11   the business be visible, is it referring to
12   this slide?                                          12   the bankruptcy cases?
13    A. Reading this slide. I did not have
14   any conversations with McKinsey partners.            14     A. I think so, but I'm not certain.
15    Q. Do you recall any conversations                  15   I'm trying to interpret, as you are.
16   about the topic in that first bullet about the       16     Q. The "they" in that sentence is
17   division among McKinsey partners?                    17   McKinsey; they fear the publicity of working
18   Conversations at AlixPartners.                       18   in these cases and having the business be
                                                          19   visible?
20    A. No, I don't recall.                              20     A. It appears that it's referring to
21    Q. And then the second bullet says, "a              21   the partners, the McKinsey partners.
22   key reason they fear the publicity of working        22     Q. So then the third bullet says, "So
23   in these cases and having the business be            23   we should make it as visible and painful as
24   visible."                                            24   possible." What's your understanding of that?
25          Do you see that?                              25     A. I'm not certain.

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 1    A. Actually, "and of having the                      1    Q. Is it referring to the fact that
 2   business be visible," yes.                            2   there's a fear of publicity, a fear of
 3    Q. Did this mean that McKinsey partners              3   visibility in the second bullet, and so it's
 4   would not want there to be public news                4   responding to making bankruptcy as visible and
 5   articles about their business?                        5   painful as possible?

 7    A. I'm not certain.                                  7     A. I would share that interpretation,
 8    Q. What's your understanding of that                 8   but I'm not certain.
 9   bullet?                                               9     Q. Do you recall any conversations
10    A. My understanding would be that, as I             10   about bullet 3, about making it as visible and
11   mentioned earlier, you can't -- it's very            11   painful as possible?
12   difficult, in my limited experience, to be           12     A. No.
13   involved in a bankruptcy where there are             13     Q. So you don't recall any
14   winners, financial winners and losers and not        14   conversations with the board?
15   create ill will, and that that could hurt            15     A. No. This would be out of character
16   their ability to serve clients into the              16   for me as our CEO to pursue a strategy like
17   future.                                              17   this. I would be very surprised if we did.
18    Q. Who are the financial winners in a               18   It would be very uncharacteristic.
19   bankruptcy?                                          19     Q. So before we go there, let me just
                                                          20   ask, do you recall any conversations with Jay
21    A. When I say winner, it would be                   21   Alix about making it painful and public as
22   sometimes the creditors get a favorable              22   possible?
23   outcome, sometimes they have a less favorable        23     A. No.
24   outcome, sometimes people in the finance             24     Q. And you said it would be
25   structure end up with control of the company,        25   uncharacteristic for you as CEO to pursue a

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 1   strategy like this. Was this strategy
 2   adopted?
 3    A. Not to my knowledge.
 4    Q. Do you recall whether the board
 5   voted on the strategy?
 6    A. No.
 7    Q. If there was a vote, would it be --
 8    A. Sorry. To be clear, no, I don't
 9   recall.
10    Q. You don't recall, right. This
11   presentation was made to the board, correct?
12    A. Yes.




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17    Q. For a competitive strategy such as                  17    Q. So I think we stopped at the third
18   this, who would have the final decision?                18   bullet. The fourth bullet, potential
                                                             19   elements, it says social -- "- social media
20    A. To my recollection, it would be me.                 20   campaign to highlight the work, especially
21    Q. And you don't recall whether you                    21   negative elements."
22   accepted this strategy or not?                          22          Was the proposal to create a social
23    A. I don't recall, but I want to                       23   media strategy to highlight negative elements
24   reiterate it would be very uncharacteristic             24   of McKinsey's restructuring work?
25   for me to pursue this strategy.                         25    A. I don't know.

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 1     Q. How do you read that bullet?                      1   few minutes ago, I really do think that being
 2     A. To be -- to be as clear as I can be,              2   in restructuring is counter, as we've talked
 3   it is written in a very -- at least to me, in          3   about, is counter to the McKinsey brand
 4   a very unclear way. So I don't know.                   4   position, and I also believe that there are a
 5     Q. So media means posting on internet                5   lot of McKinsey partners that feel that same
 6   sites?                                                 6   way.
 7     A. Yeah. I mean, to be specific why                  7          And so I think what this is
 8   I'm unclear, I don't -- when it says                   8   referring to is given those two things, those
 9   especially any negative elements, I don't know         9   two beliefs, to the extent that their role in
10   what that is referring to. Like we know what          10   restructuring cases is being read about and
11   a social media -- I think we can all agree            11   heard about, etcetera, in the media, that
12   that we know what a social media campaign             12   would feed that negative feeling that the
13   would be, but I don't know what it is                 13   McKinsey partners have.
14   referring to when it says especially any              14    Q. Does this goes to the second bullet,
15   negative elements. I'm not certain what that          15   the fear of publicity of working on the cases?
16   was referring to.
17     Q. Did that relate in any way to                    17    Q. Planting stories would be public and
18   McKinsey's disclosure practices?                      18   painful because there was a fear of publicity
                                                           19   about the cases?
20    A. No.                                               20    A. That's how I'm interpreting that
21    Q. Did it relate in any way to                       21   point. But I do want to mention, reiterate,
22   McKinsey's referral practices?                        22   this would be highly unlikely that I would
23    A. No.                                               23   have -- it is highly unlikely that this would
                                                           24   have happened while I was CEO.
                                                           25    Q. Do you recall any steps taken after

                                                 Page 78                                                     Page 80

                                                            1   this presentation to engage a public relations
                                                            2   firm to cause publicity about McKinsey?
                                                            3     A. No.
                                                            4     Q. Does anything on this slide have to
                                                            5   do with McKinsey hiring personnel from
                                                            6   AlixPartners?

                                                            8    A. No.
                                                            9    Q. Does it relate to McKinsey's
                                                           10   disclosure practices?

                                                           12    A. No.
                                                           13    Q. Does it relate to McKinsey's
                                                           14   referral practices?

                                                           16    A. No.
17    Q. The next bullet, "Planting stories
18   with both local and national media regarding
19   McKinsey's roles in restructuring cases," why
20   would it be public and painful to plant
21   stories about McKinsey's roles in
22   restructuring cases?

24    A. Two thoughts on that.
25       Referring back to our conversation a

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                                                14    Q. Did you have any discussions with
                                                15   the board about Mar-Bow's pursuit of media
                                                16   concerning McKinsey's disclosure practices?
                                                17    A. No.




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                                                13    Q. Does AlixPartners follow the
                                                14   strategy on page 15 as it competes with
                                                15   McKinsey?
                                                16    A. No.




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11     Q. Has Mr. Alix ever told you that he's
12   pursuing his own media campaign against
13   McKinsey?
14     A. No.
15     Q. Have you had discussions at the
16   board level about news articles concerning the
17   litigation between Mr. Alix and McKinsey?
18     A. I don't recall. One thing you
19   probably are aware of, our firm is not a -- we
20   try to keep this out of our line of sight.
21     Q. And how so?
22     A. We just try to get up every day and
23   go serve our clients and compete and grow the
24   firm.



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                                                        1   A. No.




15    Q. Mr. Crawford, have you discussed the
16   Westmoreland litigation with Jay Alix?
17    A. No.




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22    Q. Have you had communications with Jay
23   Alix or any of his representatives concerning
24   providing resources to Mr. Alix or Mar-Bow for
25   his litigation against McKinsey?

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                                                            1                  C E R T I F I C A T E
                                                            2
                                                            3   STATE OF NEW YORK        )
                                                            4                            ) SS.:
                                                            5   COUNTY OF SUFFOLK        )

 6                                                          6
 7                                                          7                 I, KRISTI CRUZ, a Notary Public

 8                                                          8   within and for the State of New York, do hereby

 9                                                          9   certify:

10                                                         10                 That FRED CRAWFORD, the witness

11                                                         11   whose deposition is hereinbefore set forth, was

12                                                         12   duly sworn by me and that such deposition is a
13                                                         13   true record of the testimony given by such
14                                                         14   witness.
15                                                         15                 I further certify that I am not
16                                                         16   related to any of the parties to this action by
17                                                         17   blood or marriage; and that I am in no way
18                                                         18   interested in the outcome of this matter.
19                                                         19                 IN WITNESS WHEREOF, I have hereunto
20                                                         20   set my hand this 29th day of January 2020.
21                                                         21
22                                                         22
23                                                         23
24                                                         24   ________________________
25                                                         25   KRISTI CRUZ


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                                                            1                    ***ERRATA SHEET***
 1          ACKNOWLEDGMENT
                                                            2          ELLEN GRAUER COURT REPORTING CO. LLC
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 3   STATE OF NEW YORK )                                                           212-750-6434
                                                            4
 4            :SS
                                                            5
 5   COUNTY OF     )                                            NAME OF CASE: IN RE WESTMORELAND
                                                                DATE OF DEPOSITION: JANUARY 29, 2020
 6                                                          6   NAME OF WITNESS: FRED CRAWFORD

 7           I, FRED CRAWFORD, hereby certify               7   PAGE   LINE       FROM         TO         REASON

 8    that I have read the transcript of my                 8   ____|_____|___________|__________|_____________

 9    testimony taken under oath in my deposition of        9   ____|_____|___________|__________|_____________

10    January 29, 2020; that the transcript is a           10   ____|_____|___________|__________|_____________

11    true, complete and correct record of my              11   ____|_____|___________|__________|_____________

12    testimony, and that the answers on the record        12   ____|_____|___________|__________|_____________
13    as given by me are true and correct.                 13   ____|_____|___________|__________|_____________
14                                                         14   ____|_____|___________|__________|_____________
15                                                         15   ____|_____|___________|__________|_____________
16               ________________________                  16   ____|_____|___________|__________|_____________
17                 FRED CRAWFORD                           17   ____|_____|___________|__________|_____________
18                                                         18   ____|_____|___________|__________|_____________
19                                                         19
20   Signed and subscribed to before                       20                            _______________________
21   me, this       day                                    21   Subscribed and Sworn before me
22   of             , 2020.                                22   this _____ day of _________, 2020.
23                                                         23
24   ________________________________                      24   ___________________          ______________________
25   Notary Public, State of New York                      25   Notary Public                My Commission Expires:


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